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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )          8:10-cr-00158-LES-FG3
       vs.                                   )
                                             )                   ORDER
RICHARD J. DASHER,                           )
                                             )
                     Defendant.              )


       This matter is before the court on defendant's motion to extend the pretrial motion
deadline (#149). Noting that the defendant's pretrial motion deadline expired September
20, 2010, the court finds that an extension to October 20, 2010 should be granted.

       IT IS ORDERED that the motion of Richard J. Dasher to extend the pretrial motion
deadline (#149) is granted, as follows:

      1. Richard J. Dasher is given an extension of time until and including October 20,
2010 in which to file pretrial motions.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today's date and October 20, 2010, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because the failure to grant a continuance would deny counsel for the defendant
or the attorney for the Government the reasonable time necessary for effective preparation,
taking into account the exercise of due diligence. 18 U.S.C. 3161(h)(7)(A) & (B)(iv).

      3. Defendant, Richard J. Dasher, shall file an affidavit or declaration regarding
speedy trial, in compliance with NECrimR 12.1(a), no later than October 13, 2010.

       DATED October 4, 2010.

                                          BY THE COURT:

                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
